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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         WAYCROSS DIVISION
 THE UNITED STATES OF AMERICA )
                                               )



       V.                                      )       CR514-lO
                                               )


 DUSTIN SHANE WILLIAMSON                       )

                                           ORDER


            The government has filed a Motion to Dismiss the Indictment pursuant to Rule 48(a)

  of the Federal Rules of Criminal Procedure. This motion is hereby GRANTED. The Clerk

  is ordered to dismiss the indictment against Dustin Shane Williamson.



                   SO OED, this               day




                                                             BEY WOOD, CHIEF JUDGE
                                                            STATES DISTRICT COURT
                                                            RN DISTRICT OF GEORGIA
